Case 8:20-cv-00048-JVS-JDE Document 1676-3 Filed 04/26/23 Page 1 of 8 Page ID
                                 #:150038




                  EXHIBIT 2
     Case 8:20-cv-00048-JVS-JDE Document 1676-3 Filed 04/26/23 Page 2 of 8 Page ID
                                      #:150039


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 6
 7                       UNITED STATES DISTRICT COURT
 8                      CENTRAL DISTRICT OF CALIFORNIA
 9
10    MASIMO CORPORATION, ET AL.,
11                             Plaintiffs,         CASE NO: SA CV 20-48 JVS (JDEx)
12                      v.
13    APPLE INC.,                                         SPECIAL VERDICT
14                              Defendant.
15
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17
18
19 DATED: April 26, 2023
20                                           ___________________________
21                                           JAMES V. SELNA
                                             UNITED STATES DISTRICT JUDGE
22
23
24
25 April 25, 2023                              1
     Case 8:20-cv-00048-JVS-JDE Document 1676-3 Filed 04/26/23 Page 3 of 8 Page ID
                                      #:150040


 1         When answering the following questions and filling out this Verdict Form,
 2 please follow the directions provided throughout the form and in accordance with
 3 the Jury Instructions. Please refer to the Jury Instructions for guidance on the law
 4 applicable to the subject matter covered by each question. The Court refers
 5 collectively to Masimo and Cercacor as “Plaintiffs.”
 6
 7         1.    Do you find that Masimo and Cercacor have proven that one or
 8               more of the following Asserted Trade Secrets is a trade secret?
 9                  Trade Secret                Yes                     No
10                                              (For                    (For
11                                              Plaintiffs)             Defendant)
12          Demodulation D1
13          Demodulation D3

14          Demodulation D10
            Light Propagation L4
15
            Light Propagation L5
16          Value, Importance, and
17          Appropriateness of trade
            secrets D1, D3, D10, L4,
18          or L5, individually or
            collectively or in any
19          combination

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25 April 25, 2023                               2
     Case 8:20-cv-00048-JVS-JDE Document 1676-3 Filed 04/26/23 Page 4 of 8 Page ID
                                      #:150041


 1         2. For each Asserted Trade Secret you answered “Yes” in Question 1, do
 2         you find that Masimo and Cercacor have proven that Apple misappropriated
 3         that Asserted Trade Secret? (Skip any item for which you answered “No.”)
 4                  Trade Secret              Yes                    No
 5                                            (For                   (For
 6                                            Plaintiffs)            Defendant)
 7          Demodulation D1
 8          Demodulation D3

 9          Demodulation D10
            Light Propagation L4
10
            Light Propagation L5
11          Value, Importance, and
12          Appropriateness of trade
            secrets D1, D3, D10, L4,
13          or L5, individually or
            collectively or in any
14          combination

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25 April 25, 2023                             3
     Case 8:20-cv-00048-JVS-JDE Document 1676-3 Filed 04/26/23 Page 5 of 8 Page ID
                                      #:150042


 1        3. For each Asserted Trade Secret you answered “Yes” in Question 1, do
 2        you find that Apple has proven that the statute of limitations prevents
 3        Masimo and Cercacor from asserting a claim for misappropriation? (Skip
 4        any item for which you answered “No.”)
 5               Trade Secret                  No                       Yes
 6                                             (For                     (For
 7                                             Plaintiffs)              Defendant)
 8           Demodulation D1
 9           Demodulation D3

10           Demodulation D10
             Light Propagation L4
11
             Light Propagation L5
12           Value, Importance, and
13           Appropriateness of
             trade secrets D1, D3,
14           D10, L4, or L5,
             individually or
15           collectively or in any
             combination
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25 April 25, 2023                               4
     Case 8:20-cv-00048-JVS-JDE Document 1676-3 Filed 04/26/23 Page 6 of 8 Page ID
                                      #:150043


 1        4. If you find Apple misappropriated one or more Asserted Trade Secret(s),
 2        and the claim is not time barred, do you find that Masimo and Cercacor have
 3        proven any such misappropriation was willful and malicious?
 4                                    __________             __________
 5                                        Yes                    No
                                          (for                  (for
 6                                     Plaintiffs)           Defendant)
 7
 8
          5. If you find Apple misappropriated one or more Asserted Trade Secret(s),
 9
          and the claim is not time barred, how much money should Apple pay
10
          Masimo and Cercacor for Apple’s unjust enrichment caused by that trade
11
          secret misappropriation?
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                $______________________________________
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25 April 25, 2023                              5
     Case 8:20-cv-00048-JVS-JDE Document 1676-3 Filed 04/26/23 Page 7 of 8 Page ID
                                      #:150044


 1        6. Do you find that Masimo and Cercacor have proven that Mohamed Diab
 2        should be added as one of the inventors on the following patents?
 3           Patent                            Yes                    No
 4                                             (For                   (For
 5                                             Plaintiffs)            Defendant)
 6           U.S. Patent No.
 7           10,078,052
 8           U.S. Patent No.

 9           10,247,670

10           U.S. Patent No.

11           9,952,095
             U.S. Patent No.
12
             11,009,390
13
14        7. Do you find that Masimo and Cercacor have proven that Jeroen Poeze
15        should be added as one of the inventors on U.S. Patent No. 10,219,754?
16
17                               ____________           ____________
                                       Yes                    No
18                               (for Plaintiffs)       (for Defendant)
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25 April 25, 2023                              6
     Case 8:20-cv-00048-JVS-JDE Document 1676-3 Filed 04/26/23 Page 8 of 8 Page ID
                                      #:150045


 1        8. Do you find that Masimo and Cercacor have proven that they should be a co-
 2 owner of one or more of the following patents, either based on contributions by
 3 Mohamad Diab (052, 670, 095, 390 patents), Jeroen Poeze (754 patent), or Marcelo
 4 Lamego (052, 670, 095, 390, 754 patents)?
 5
 6                Patent                       Yes                      No
                                          (For Plaintiffs)        (For Defendant)
 7
        U.S. Patent No. 10,078,052
 8
        U.S. Patent No. 10,247,670
 9       U.S. Patent No. 9,952,095
10      U.S. Patent No. 11,009,390
11      U.S. Patent No. 10,219,754

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        Dated: ___________________             By: _____________________________
16                                                    Jury Foreperson
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25 April 25, 2023                              7
